                Case 23-58909-lrc                 Doc 1     Filed 09/13/23 Entered 09/13/23 16:03:18                             Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF GEORGIA, ATLANTA DIVISION

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Kirby Construction Group, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  5365 Dividend Drive, Suite F                                    P.O. Box 1926
                                  Decatur, GA 30035                                               Conyers, GA 30012
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  DeKalb                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    Kirby Construction Group, LLC                                                                 Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                     The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                      noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                   $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                              operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                                exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                  The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                  debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                  When                                  Case number
                                                 District                                  When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 2
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Debtor    Kirby Construction Group, LLC                                                                   Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.

                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
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Debtor   Kirby Construction Group, LLC                                               Case number (if known)
         Name

                             $50,001 - $100,000                          $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                             $100,001 - $500,000                         $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                              $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
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Debtor    Kirby Construction Group, LLC                                                            Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      September 13, 2023
                                                  MM / DD / YYYY


                             X /s/ Andrew C. Kirby, Jr.                                                   Andrew C. Kirby, Jr.
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Manager




18. Signature of attorney    X /s/ Paul Reece Marr GA Bar #                                                Date September 13, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Paul Reece Marr GA Bar # 471230
                                 Printed name

                                 Paul Reece Marr, P.C.
                                 Firm name

                                 6075 Barfield Road
                                 Suite 213
                                 Sandy Springs, GA 30328-4402
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (770) 984-2255                Email address      paul.marr@marrlegal.com

                                 GA Bar # 471230 GA
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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Fill in this information to identify the case:

Debtor name         Kirby Construction Group, LLC

United States Bankruptcy Court for the:     NORTHERN DISTRICT OF GEORGIA, ATLANTA DIVISION

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       September 13, 2023              X /s/ Andrew C. Kirby, Jr.
                                                           Signature of individual signing on behalf of debtor

                                                            Andrew C. Kirby, Jr.
                                                            Printed name

                                                            Manager
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
                    Case 23-58909-lrc          Doc 1        Filed 09/13/23 Entered 09/13/23 16:03:18                                         Desc Main
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 Fill in this information to identify the case:
 Debtor name Kirby Construction Group, LLC
 United States Bankruptcy Court for the: NORTHERN DISTRICT OF                                                                                Check if this is an
                                                GEORGIA, ATLANTA DIVISION
 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Mikeitz Realty                                      premises lease                                                                                              $20,294.64
 (Snapfinger GA)                                     arrearage
 c/o Dalfen Ind. - S.
 Cantrell
 5607 Glenridge Dr.
 Ste 460
 Atlanta, GA 30342
 Wells Fargo Bank                                    line of credit                                                                                              $17,594.77
 PO Box 51174
 Los Angeles, CA
 90051-5474
 Hardware                                            account payable                                                                                               $9,785.54
 Resources
 c/o Transworld
 Systems Inc.
 500 Virginia Drive,
 Suite 514
 Fort Washington,
 PA 19034
 Build.com #3700                                     account payable                                                                                               $9,313.18
 c/o DAL, Inc.
 PO Box 162
 Clifton Heights, PA
 19018
 Citibank                                            Home Depot                                                                                                    $8,404.40
 PO Box 790411                                       Commercial
 Saint Louis, MO                                     Revolve credit
 63179                                               card
 Internal Revenue                                    payroll                                                                                                       $6,425.20
 Service (CIO)                                       withholding and
 PO Box 7346                                         unemployment tax
 Philadelphia, PA
 19101-7346




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
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 Debtor    Kirby Construction Group, LLC                                                             Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Wex Bank                                            account payable                                                                                               $6,031.64
 c/o Frontline Asset
 Strategies
 2700 Snelling Ave N,
 Ste 450
 Saint Paul, MN
 55113
 Color Schemes                                       account payable                                                                                               $5,450.00
 Corporation
 321 Vineyard Drive
 Athens, GA 30607
 Artistic Builders                                   account payable                                                                                               $5,209.00
 Supply
 Ace Hardware
 963 Buford Dr C
 Lawrenceville, GA
 30043
 Southern Wholesale                                  account payable                                                                                               $4,996.23
 Flooring Co
 955 Cobb Place Blvd
 NW
 Kennesaw, GA
 30144
 Armstong                                            account payable                                                                                               $4,926.17
 Relocation Services
 6950 Business
 Court
 Atlanta, GA 30340
 Spahn & Rose                                        account payable                                                                                               $4,251.44
 Lumber Company
 1100 Rockdale Road
 Dubuque, IA
 52003-7875
 Rosen Materials                                     account payable                                                                                               $3,133.90
 c/o Vericore
 10115 Kincey
 Avenue, Suite 100
 Huntersville, NC
 28078-6482
 Robert Kirby                                        wages                                                                                                         $3,099.94
 570 Brown Church
 Road
 Social Circle, GA
 30025
 Atlanta Specialty                                   account payable                                                                                               $3,048.30
 Millworks
 1360 Logan Cir NW
 Atlanta, GA 30318




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
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 Debtor    Kirby Construction Group, LLC                                                             Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Houzz                                               Pro-Services              Disputed                                                                            $2,514.00
 Legal Dept.                                         Agreement
 285 Hamilton
 Avenue, 4th Floor
 Palo Alto, CA 94301
 Sherwin Williams                                    account payable                                                                                               $2,338.42
 Paint
 1561 Highway 138
 SE
 Conyers, GA
 30013-1278
 Interceramic Inc.                                   account payable                                                                                               $2,285.27
 c/o CST World Wide
 PO Box 224768
 Dallas, TX
 75222-4768
 Panet Peterson                                      wages                                                                                                         $1,670.28
 206 Bond Drive
 Ellenwood, GA
 30294
 Kendal Campbell                                     wages                                                                                                         $1,337.66
 318 Caruthers Ave
 Hohenwald, TN
 38462




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3
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 Fill in this information to identify the case:

 Debtor name            Kirby Construction Group, LLC

 United States Bankruptcy Court for the:                       NORTHERN DISTRICT OF GEORGIA, ATLANTA DIVISION

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $            93,076.93

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $            93,076.93


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $           489,897.38


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $              6,425.20

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           167,976.04


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $             664,298.62




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
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Fill in this information to identify the case:

Debtor name         Kirby Construction Group, LLC

United States Bankruptcy Court for the:     NORTHERN DISTRICT OF GEORGIA, ATLANTA DIVISION

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number


          3.1.     QuickBooks                                        checking                              7688                                    $22,021.70




          3.2.     Wells Fargo Bank                                  checking                              7619                                     $8,417.39




          3.3.     Wells Fargo Bank                                  savings                               6079                                             $0.01




          3.4.     Wells Fargo Bank                                  checking                              4434                                             $0.00



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                     $30,439.10
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.

Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                                         page 1
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Debtor           Kirby Construction Group, LLC                                              Case number (If known)
                 Name



7.        Deposits, including security deposits and utility deposits
          Description, including name of holder of deposit
                   security deposit with landlord Mikeitz Realty (Snapfinger Georgia) ADA Compliant
          7.1.     Limited Partnership                                                                                                   $4,200.00



8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
          Description, including name of holder of prepayment


9.        Total of Part 2.                                                                                                            $4,200.00
          Add lines 7 through 8. Copy the total to line 81.

Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.

11.       Accounts receivable
          11a. 90 days old or less:                        6,034.90    -                                   0.00 = ....                   $6,034.90
                                       face amount                            doubtful or uncollectible accounts




          11b. Over 90 days old:                        13,202.10      -                           13,202.10 =....                            $0.00
                                       face amount                            doubtful or uncollectible accounts



12.       Total of Part 3.                                                                                                            $6,034.90
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:          Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:          Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.

          General description                Date of the last              Net book value of         Valuation method used    Current value of
                                             physical inventory            debtor's interest         for current value        debtor's interest
                                                                           (Where available)

19.       Raw materials

20.       Work in progress

21.       Finished goods, including goods held for resale
          inventory                                                                  Unknown                                             $1,306.93



22.       Other inventory or supplies


Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                         page 2
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Debtor       Kirby Construction Group, LLC                                                  Case number (If known)
             Name


23.       Total of Part 5.                                                                                                           $1,306.93
          Add lines 19 through 22. Copy the total to line 84.

24.       Is any of the property listed in Part 5 perishable?
             No
             Yes

25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                               Valuation method                             Current Value

26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
             No
             Yes

Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

          General description                                            Net book value of          Valuation method used    Current value of
                                                                         debtor's interest          for current value        debtor's interest
                                                                         (Where available)

39.       Office furniture
          office furniture                                                          Unknown                                             $2,000.00



40.       Office fixtures

41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          office computers and related equipment                                    Unknown                                             $2,000.00



42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                              $4,000.00
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
             No
             Yes

45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes

Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                         page 3
            Case 23-58909-lrc                Doc 1       Filed 09/13/23 Entered 09/13/23 16:03:18                          Desc Main
                                                         Document     Page 14 of 47
Debtor        Kirby Construction Group, LLC                                                Case number (If known)
              Name



      No. Go to Part 9.
      Yes Fill in the information below.

           General description                                          Net book value of          Valuation method used    Current value of
           Include year, make, model, and identification numbers        debtor's interest          for current value        debtor's interest
           (i.e., VIN, HIN, or N-number)                                (Where available)

47.        Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.    Yale forklit                                                   Unknown                                            $15,536.00


           47.2.    racking system                                                 Unknown                                            $31,560.00



48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

49.        Aircraft and accessories


50.        Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)

51.        Total of Part 8.                                                                                                       $47,096.00
           Add lines 47 through 50. Copy the total to line 87.

52.        Is a depreciation schedule available for any of the property listed in Part 8?
              No
              Yes

53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
              No
              Yes

Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.


Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.


Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                        page 4
              Case 23-58909-lrc                         Doc 1           Filed 09/13/23 Entered 09/13/23 16:03:18                                        Desc Main
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Debtor          Kirby Construction Group, LLC                                                                       Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                            $30,439.10

81. Deposits and prepayments. Copy line 9, Part 2.                                                                   $4,200.00

82. Accounts receivable. Copy line 12, Part 3.                                                                       $6,034.90

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                 $1,306.93

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                            $4,000.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                      $47,096.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                              $93,076.93          + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                   $93,076.93




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                       page 5
             Case 23-58909-lrc                     Doc 1         Filed 09/13/23 Entered 09/13/23 16:03:18                                  Desc Main
                                                                 Document     Page 16 of 47
Fill in this information to identify the case:

Debtor name         Kirby Construction Group, LLC

United States Bankruptcy Court for the:           NORTHERN DISTRICT OF GEORGIA, ATLANTA DIVISION

Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:     List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
      Commercial Industrial
2.1                                                                                                                       $24,932.00                $31,560.00
      Finance                                      Describe debtor's property that is subject to a lien
      Creditor's Name                              racking system
      d/b/a Indoff Capital
      10024 Office Center Ave.
      #1500
      Saint Louis, MO 63128
      Creditor's mailing address                   Describe the lien
                                                   Equipment Finance Agreement
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      on or about 5/26/2022                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      2891,8097
      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.



2.2   Fundbox                                      Describe debtor's property that is subject to a lien                   $42,048.70                 Unknown
      Creditor's Name                              essentially all business assets
      Prashant Fuloria, CEO
      6900 Dallas Parkway, STE
      700
      Plano, TX 75024
      Creditor's mailing address                   Describe the lien
                                                   UCC, Revolving Credit Agreement
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      UCC filed 3/16/2020                             Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number


Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 3
              Case 23-58909-lrc                   Doc 1          Filed 09/13/23 Entered 09/13/23 16:03:18                             Desc Main
                                                                 Document     Page 17 of 47
Debtor       Kirby Construction Group, LLC                                                         Case number (if known)
             Name


       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



2.3    Richard M. Howe, Esq.                       Describe debtor's property that is subject to a lien                      $22,916.68     Unknown
       Creditor's Name
       for Technology Insurance
       Co.
       4385 Kimball Bridge Rd
       #100
       Alpharetta, GA 30022
       Creditor's mailing address                  Describe the lien
                                                   Consent Final Judgment
                                                   Is the creditor an insider or related party?
                                                      No
       Creditor's email address, if known              Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                         No
       1/27/2023                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative
       priority.                                      Disputed




       U.S. Small Business
2.4                                                                                                                         $400,000.00     Unknown
       Admin.                                      Describe debtor's property that is subject to a lien
       Creditor's Name                             essentially all business assets
       Office of Disaster
       Assistance
       14925 Kingsport Rd.
       Fort Worth, TX 76155
       Creditor's mailing address                  Describe the lien
                                                   security agreement and financing statement
                                                   Is the creditor an insider or related party?
                                                      No
       Creditor's email address, if known              Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                         No
       07/30/2020; amended                            Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       10/19/2021
       Last 4 digits of account number
       8209
       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.            $489,897.38


Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page 2 of 3
           Case 23-58909-lrc                  Doc 1        Filed 09/13/23 Entered 09/13/23 16:03:18                                     Desc Main
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Debtor     Kirby Construction Group, LLC                                                       Case number (if known)
           Name

Part 2:   List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity
       First Electronic Bank
       Derek Higginbotham, CEO                                                                           Line   2.2
       2150 S 1300 E; Ste 400
       Salt Lake City, UT 84106

       FundBox
       c/o Sequium Asset Solutions                                                                       Line   2.2
       1130 Northchase Pkwy SE Ste 15
       Marietta, GA 30067-6429

       Lester J. Hubble, Esq.
       for Indoff Capital                                                                                Line   2.1
       5353 S. Lindbergh Blvd #210
       Saint Louis, MO 63126

       Republic Bank; Collections
       formerly Commercial Industrial                                                                    Line   2.1                                   8097
       10024 Office Center Avenue
       Saint Louis, MO 63128

       U.S. Attorney
       600 Richard Russell Building                                                                      Line   2.4
       75 Spring Street, SW
       Atlanta, GA 30303

       U.S. Small Business Admin.
       GA District Office                                                                                Line   2.4
       233 Peachtree Street NE; #300
       Atlanta, GA 30303




Official Form 206D              Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                              page 3 of 3
             Case 23-58909-lrc                   Doc 1         Filed 09/13/23 Entered 09/13/23 16:03:18                                       Desc Main
                                                               Document     Page 19 of 47
Fill in this information to identify the case:

Debtor name        Kirby Construction Group, LLC

United States Bankruptcy Court for the:         NORTHERN DISTRICT OF GEORGIA, ATLANTA DIVISION

Case number (if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                 amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                   Total claim           Priority amount

2.1       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                     $0.00      $0.00
          Georgia Department of Revenue                        Check all that apply.
          ARCS - Bankruptcy                                       Contingent
          1800 Century Blvd NE Ste 9100                           Unliquidated
          Atlanta, GA 30345-3202                                  Disputed

          Date or dates debt was incurred                      Basis for the claim:
                                                               notice only
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes


2.2       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                              $6,425.20         $6,425.20
          Internal Revenue Service (CIO)                       Check all that apply.
          PO Box 7346                                             Contingent
          Philadelphia, PA 19101-7346                             Unliquidated
                                                                  Disputed

          Date or dates debt was incurred                      Basis for the claim:
                                                               payroll withholding and unemployment tax
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes



Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                       page 1 of 7
                                                                                                               21149
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Debtor      Kirby Construction Group, LLC                                                   Case number (if known)
            Name

3.1      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,507.70
         Andrew Kirby Sr                                              Contingent
         2760 Glad Dale                                               Unliquidated
         Conyers, GA 30094                                            Disputed
         Date(s) debt was incurred 11/24/2022 - 1/19/2023
                                                                   Basis for the claim: wages
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.2      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,432.83
         Anitra Kirby                                                 Contingent
         570 Brown Church Road                                        Unliquidated
         Social Circle, GA 30025                                      Disputed
         Date(s) debt was incurred 11/24/2022 - 1/19/2023
                                                                   Basis for the claim: wages
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.3      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,926.17
         Armstong Relocation Services                                 Contingent
         6950 Business Court                                          Unliquidated
         Atlanta, GA 30340                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: account payable
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.4      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,209.00
         Artistic Builders Supply                                     Contingent
         Ace Hardware                                                 Unliquidated
         963 Buford Dr C                                              Disputed
         Lawrenceville, GA 30043
                                                                   Basis for the claim: account payable
         Date(s) debt was incurred
         Last 4 digits of account number 3133                      Is the claim subject to offset?     No       Yes


3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3,048.30
         Atlanta Specialty Millworks                                  Contingent
         1360 Logan Cir NW                                            Unliquidated
         Atlanta, GA 30318                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: account payable
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $9,313.18
         Build.com #3700                                              Contingent
         c/o DAL, Inc.                                                Unliquidated
         PO Box 162                                                   Disputed
         Clifton Heights, PA 19018
                                                                   Basis for the claim: account payable
         Date(s) debt was incurred
         Last 4 digits of account number 7135                      Is the claim subject to offset?     No       Yes


3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $737.59
         Caroline Smith                                               Contingent
         1504 Aurora Ave                                              Unliquidated
         Cleveland, TN 37311                                          Disputed
         Date(s) debt was incurred 11/24/2022 - 1/19/2023
                                                                   Basis for the claim: wages
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 2 of 7
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Debtor      Kirby Construction Group, LLC                                                   Case number (if known)
            Name

3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $8,404.40
         Citibank                                                     Contingent
         PO Box 790411                                                Unliquidated
         Saint Louis, MO 63179                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Home Depot Commercial Revolve credit card
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,179.35
         City Electric Supply                                         Contingent
         Dallas Division                                              Unliquidated
         400 S Record St Ste 1250                                     Disputed
         Dallas, TX 75202-4839
                                                                   Basis for the claim: account payable
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,450.00
         Color Schemes Corporation                                    Contingent
         321 Vineyard Drive                                           Unliquidated
         Athens, GA 30607                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: account payable
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,194.59
         Dakota Cormican                                              Contingent
         1004 C St                                                    Unliquidated
         La Porte, IN 46350                                           Disputed
         Date(s) debt was incurred 11/24/2022 - 1/19/2023
                                                                   Basis for the claim: wages
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $9,785.54
         Hardware Resources                                           Contingent
         c/o Transworld Systems Inc.                                  Unliquidated
         500 Virginia Drive, Suite 514                                Disputed
         Fort Washington, PA 19034
                                                                   Basis for the claim: account payable
         Date(s) debt was incurred
         Last 4 digits of account number 2023                      Is the claim subject to offset?     No       Yes


3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,514.00
         Houzz                                                        Contingent
         Legal Dept.                                                  Unliquidated
         285 Hamilton Avenue, 4th Floor
                                                                      Disputed
         Palo Alto, CA 94301
                                                                   Basis for the claim: Pro-Services Agreement
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,285.27
         Interceramic Inc.                                            Contingent
         c/o CST World Wide                                           Unliquidated
         PO Box 224768                                                Disputed
         Dallas, TX 75222-4768
                                                                   Basis for the claim: account payable
         Date(s) debt was incurred
         Last 4 digits of account number 2334                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 3 of 7
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            Name

3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $35,212.85
         KCG Flooring & Design LLC                                    Contingent
         5365 Dividend Drive, Suite F                                 Unliquidated
         Decatur, GA 30035                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: account payable
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,337.66
         Kendal Campbell                                              Contingent
         318 Caruthers Ave                                            Unliquidated
         Hohenwald, TN 38462                                          Disputed
         Date(s) debt was incurred 11/24/2022 - 1/19/2023
                                                                   Basis for the claim: wages
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         Leaf Funding, Inc.                                           Contingent
         Legal Dept.
                                                                      Unliquidated
         2005 Market Street 14th Floor
         Philadelphia, PA 19103                                       Disputed

         Date(s) debt was incurred                                 Basis for the claim: possible deficiency balance regarding copier
                                                                   repossessed April 2024
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,206.90
         Lime Granite dba Toro Granite                                Contingent
         3853 Green Industrial Way                                    Unliquidated
         Atlanta, GA 30341-1911                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: account payable
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $20,294.64
         Mikeitz Realty (Snapfinger GA)
         c/o Dalfen Ind. - S. Cantrell                                Contingent
         5607 Glenridge Dr. Ste 460                                   Unliquidated
         Atlanta, GA 30342                                            Disputed
         Date(s) debt was incurred premises lease dated
                                                                   Basis for the claim: premises lease arrearage
         May 26, 2021
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,670.28
         Panet Peterson                                               Contingent
         206 Bond Drive                                               Unliquidated
         Ellenwood, GA 30294                                          Disputed
         Date(s) debt was incurred 11/24/2022 - 1/19/2023
                                                                   Basis for the claim: wages
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3,099.94
         Robert Kirby                                                 Contingent
         570 Brown Church Road                                        Unliquidated
         Social Circle, GA 30025                                      Disputed
         Date(s) debt was incurred 11/24/2022 - 1/19/2023
                                                                   Basis for the claim: wages
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 4 of 7
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Debtor      Kirby Construction Group, LLC                                                   Case number (if known)
            Name

3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3,133.90
         Rosen Materials                                              Contingent
         c/o Vericore                                                 Unliquidated
         10115 Kincey Avenue, Suite 100                               Disputed
         Huntersville, NC 28078-6482
                                                                   Basis for the claim: account payable
         Date(s) debt was incurred
         Last 4 digits of account number 5855                      Is the claim subject to offset?     No       Yes


3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,338.42
         Sherwin Williams Paint                                       Contingent
         1561 Highway 138 SE                                          Unliquidated
         Conyers, GA 30013-1278                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: account payable
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,163.95
         Social Circle Ace Home Center                                Contingent
         181 S Cherokee Rd,                                           Unliquidated
         Social Circle, GA 30025                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: account payable
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,996.23
         Southern Wholesale Flooring Co                               Contingent
         955 Cobb Place Blvd NW                                       Unliquidated
         Kennesaw, GA 30144                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: account payable
         Last 4 digits of account number 8536
                                                                   Is the claim subject to offset?     No       Yes

3.26     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,251.44
         Spahn & Rose Lumber Company                                  Contingent
         1100 Rockdale Road                                           Unliquidated
         Dubuque, IA 52003-7875                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: account payable
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.27     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $839.33
         Suzanne Elliott                                              Contingent
         40 Highlands Way                                             Unliquidated
         Oxford, GA 30054                                             Disputed
         Date(s) debt was incurred 11/24/2022 - 1/19/2023
                                                                   Basis for the claim: wages
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.28     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $883.65
         Top Knobs USA                                                Contingent
         c/o Transworld Systems Inc.                                  Unliquidated
         500 Virginia Drive, Suite 514                                Disputed
         Fort Washington, PA 19034
                                                                   Basis for the claim: account payable
         Date(s) debt was incurred
         Last 4 digits of account number 7203                      Is the claim subject to offset?     No       Yes




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Debtor       Kirby Construction Group, LLC                                                          Case number (if known)
             Name

3.29      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                  $932.52
          Tucker Acoustical Products Inc                                       Contingent
          2014 Steel Drive                                                     Unliquidated
          Tucker, GA 30084                                                     Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: account payable
          Last 4 digits of account number 2184
                                                                           Is the claim subject to offset?         No    Yes

3.30      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $17,594.77
          Wells Fargo Bank                                                     Contingent
          PO Box 51174                                                         Unliquidated
          Los Angeles, CA 90051-5474                                           Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: line of credit
          Last 4 digits of account number 9216
                                                                           Is the claim subject to offset?         No    Yes

3.31      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $6,031.64
          Wex Bank                                                             Contingent
          c/o Frontline Asset Strategies                                       Unliquidated
          2700 Snelling Ave N, Ste 450                                         Disputed
          Saint Paul, MN 55113
                                                                           Basis for the claim: account payable
          Date(s) debt was incurred
          Last 4 digits of account number 2796                             Is the claim subject to offset?         No    Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                    related creditor (if any) listed?               account number, if
                                                                                                                                                    any
4.1       A.G. Adjustments, Ltd.
          for Sherwin Williams Paint                                                                Line     3.23                                   0AGA
          740 Walt Whitman Road
                                                                                                           Not listed. Explain
          Melville, NY 11747

4.2       C2C Resources, LLC
          1455 Lincoln Pkwy E Suite 550                                                             Line     3.18
          Atlanta, GA 30346
                                                                                                           Not listed. Explain

4.3       Dept. of Justice-Tax Division
          Civil Trial §, So. Region                                                                 Line     2.2
          POBox14198, BenFranklinStation
                                                                                                           Not listed. Explain
          Washington, DC 20044

4.4       Edge Business Systems LLC
          1350 Northmeadow Pkwy                                                                     Line     3.17
          Roswell, GA 30076
                                                                                                           Not listed. Explain

4.5       Internal Revenue Service
          Stop 334D                                                                                 Line     2.2
          401 W. Peachtree Street
                                                                                                           Not listed. Explain
          Atlanta, GA 30308

4.6       Todd Sprinkle, Esq.
          for Mikeitz Realty                                                                        Line     3.19
          1075 Peachtree Street NE #1500
                                                                                                           Not listed. Explain
          Atlanta, GA 30339

Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 6 of 7
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            Name

          Name and mailing address                                                     On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                       related creditor (if any) listed?              account number, if
                                                                                                                                      any
4.7       United States Attorney
          600 Richard B Russell Building                                               Line     2.2
          75 Ted Turner Drive, S.W.
                                                                                              Not listed. Explain
          Atlanta, GA 30303-3309

4.8       United States Attorney General
          U.S. Department of Justice                                                   Line     2.2
          950 Pennsylvania Avenue, NW
                                                                                              Not listed. Explain
          Washington, DC 20530-0001


Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                          Total of claim amounts
5a. Total claims from Part 1                                                              5a.         $                      6,425.20
5b. Total claims from Part 2                                                              5b.    +    $                    167,976.04

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                   5c.         $                      174,401.24




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Fill in this information to identify the case:

Debtor name       Kirby Construction Group, LLC

United States Bankruptcy Court for the:     NORTHERN DISTRICT OF GEORGIA, ATLANTA DIVISION

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            premises lease dated
           lease is for and the nature of        May 26, 2021 with
           the debtor's interest                 landlord Mikeitz Realty
                                                 (Snapfinger Georgia)
                                                 ADA Compliant Limited
                                                 Partnership regarding
                                                 business premises
                                                 improved with
                                                 commercial building
                                                 having an address of
                                                 5365 Dividend Drive,
                                                 Suite F, Decatur, GA
                                                 30035
               State the term remaining          8/31/28                            Dalfen Industrial LLC
                                                                                    Susan Cantrell, Property Mngr
           List the contract number of any                                          5607 Glenridge Dr, Ste 460
                 government contract                                                Atlanta, GA 30342


2.2.       State what the contract or            Pro-Services
           lease is for and the nature of        Agreement (business
           the debtor's interest                 software)

               State the term remaining                                             Houzz
                                                                                    Legal Dept.
           List the contract number of any                                          285 Hamilton Avenue, 4th Floor
                 government contract                                                Palo Alto, CA 94301




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
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Fill in this information to identify the case:

Debtor name      Kirby Construction Group, LLC

United States Bankruptcy Court for the:   NORTHERN DISTRICT OF GEORGIA, ATLANTA DIVISION

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Andrew Kirby, Jr.           P.O. Box 1926                                             U.S. Small Business                D   2.4
                                      Decatur, GA 30035                                         Admin.                             E/F
                                                                                                                                   G




   2.2    Andrew Kirby, Jr.           P.O. Box 1926                                             Commercial                         D   2.1
                                      Decatur, GA 30035                                         Industrial Finance                 E/F
                                                                                                                                   G




   2.3    Andrew Kirby, Jr.           P.O. Box 1926                                             Leaf Funding, Inc.                 D
                                      Decatur, GA 30035                                                                            E/F       3.17
                                                                                                                                   G




   2.4    Andrew Kirby, Jr.           P.O. Box 1926                                             Fundbox                            D   2.2
                                      Decatur, GA 30035                                                                            E/F
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 1
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Fill in this information to identify the case:

Debtor name         Kirby Construction Group, LLC

United States Bankruptcy Court for the:    NORTHERN DISTRICT OF GEORGIA, ATLANTA DIVISION

Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                               $250,869.74
      From 1/01/2023 to Filing Date
                                                                                          Other


      For prior year:                                                                     Operating a business                               $988,303.25
      From 1/01/2022 to 12/31/2022
                                                                                          Other


      For year before that:                                                               Operating a business                             $1,118,012.56
      From 1/01/2021 to 12/31/2021
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply




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Debtor       Kirby Construction Group, LLC                                                      Case number (if known)



      Creditor's Name and Address                                  Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                         Check all that apply
      3.1.
             Legacy Electrical Services Inc.                       9/1/2023                         $10,000.00                Secured debt
             2421 C Lance Court                                                                                               Unsecured loan repayments
             Loganville, GA 30052
                                                                                                                              Suppliers or vendors
                                                                                                                              Services
                                                                                                                              Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                    Value of property

      Leaf Funding, Inc.                               copier                                                          April 2023                    Unknown
      Legal Dept.
      2005 Market Street 14th Floor
      Philadelphia, PA 19103


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                  Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

             Case title                                Nature of case              Court or agency's name and                  Status of case
             Case number                                                           address
      7.1.   Commercial Industrial                     collections                 Circuit Court of St. Louis                      Pending
             Finance d/b/a Indoff Capital              regarding                   County, MO                                      On appeal
             vs. Kirby Construction Group,             equipment finance
                                                                                                                                   Concluded
             LLC, et al                                agreement and
             23SL-AC19485                              personal guaranty




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              Case title                              Nature of case               Court or agency's name and                 Status of case
              Case number                                                          address
      7.2.    Technology Insurance                                                 State Court of Rockdale                       Pending
              Company vs. Kirby                                                    County                                        On appeal
              Construction Group, LLC
                                                                                                                                 Concluded
              2020CV1568

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

              Recipient's name and address            Description of the gifts or contributions                  Dates given                            Value


Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and            Amount of payments received for the loss                   Dates of loss               Value of property
      how the loss occurred                                                                                                                               lost
                                                      If you have received payments to cover the loss, for
                                                      example, from insurance, government compensation, or
                                                      tort liability, list the total received.

                                                      List unpaid claims on Official Form 106A/B (Schedule
                                                      A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

               Who was paid or who received             If not money, describe any property transferred               Dates                    Total amount or
               the transfer?                                                                                                                            value
               Address
      11.1.    Paul Reece Marr, P.C.
               6075 Barfield Road
               Suite 213
               Sandy Springs, GA                        $16,738.00 ($15,000.00 retainer + $1,738.00                   8/25/2023 -
               30328-4402                               Petition filing fee)                                          8/29/2023                   $16,738.00

               Email or website address
               paul.marr@marrlegal.com

               Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
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    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                             Describe any property transferred                    Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

             Who received transfer?                    Description of property transferred or                     Date transfer             Total amount or
             Address                                   payments received or debts paid in exchange                was made                           value
      13.1 Carl James Baker III
      .    8201 Plantation Trace
             Covington, GA 30014                       2006 Ford Econline Van                                     8/22/2023                       $4,500.00

             Relationship to debtor
             none


      13.2 Craig Cleveland
      .    230 Chateau Drive
             Fayetteville, GA 30214                    2013 Ford Transit Connect                                  8/22/2023                       $5,500.00

             Relationship to debtor
             none


      13.3 Professional Drywall
      .    Finishings LLC                              debtor transferred a 2006 F250 Super
             Mark Grubb                                Duty Diesel truck VIN #-4605 to
             3882 Sugar Creek Dr                       Professional Drywall Finishings LLC in                     on or about
             Douglasville, GA 30135                    payment of a $10,000.00 invoice                            4/7/2023                        $6,000.00

             Relationship to debtor
             subcontractor


 Part 7:    Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

               Address                                                                                              Dates of occupancy
                                                                                                                    From-To

Part 8:     Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.




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Debtor      Kirby Construction Group, LLC                                                        Case number (if known)



               Facility name and address                Nature of the business operation, including type of services                If debtor provides meals
                                                        the debtor provides                                                         and housing, number of
                                                                                                                                    patients in debtor’s care

Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and            Last 4 digits of           Type of account or          Date account was                  Last balance
              Address                                   account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).
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     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                            Court or agency name and              Nature of the case                            Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
            None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        Kirby Construction Group, LLC
                    Andrew Kirby, Jr.
                    PO Box 1926
                    Conyers, GA 30012
      26a.2.        Chrsta Aiani, EA
                    CAEA - Tax & Accounting
                    2330 scenic Hwy S Suite 115
                    Snellville, GA 30078

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.


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Debtor      Kirby Construction Group, LLC                                                       Case number (if known)



             None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        Kirby Construction Group, LLC
                    Andrew Kirby, Jr.
                    PO Box 1926
                    Conyers, GA 30012

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Andrew Kirby, Jr.                       PO Box 1926                                         sole officer and member                   100
                                              Conyers, GA 30012



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

               Name and address of recipient           Amount of money or description and value of               Dates                 Reason for
                                                       property                                                                        providing the value
      30.1 Andrew Kirby
      .    P.O. Box 1926                               $18,783.96 salary + $8,012.55 owner                       365 days              compensation
               Decatur, GA 30035                       distributions                                             pre-petition          and distributions

               Relationship to debtor
               sole member and officer


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Debtor      Kirby Construction Group, LLC                                                   Case number (if known)



31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                  Employer Identification number of the parent
                                                                                                   corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                        Employer Identification number of the pension
                                                                                                   fund




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Debtor      Kirby Construction Group, LLC                                                       Case number (if known)




Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         September 13, 2023

/s/ Andrew C. Kirby, Jr.                                        Andrew C. Kirby, Jr.
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   Manager

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 9
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B2030 (Form 2030) (12/15)
                                                         United States Bankruptcy Court
                                                  Northern District of Georgia, Atlanta Division
 In re       Kirby Construction Group, LLC                                                                    Case No.
                                                                              Debtor(s)                       Chapter       11

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 15,000.00
             Prior to the filing of this statement I have received                                        $                 15,000.00
             Balance Due                                                                                  $                       0.00

2.   $      1,738.00       of the filing fee has been paid.

3.   The source of the compensation paid to me was:

                  Debtor              Other (specify):

4.   The source of compensation to be paid to me is:

                  Debtor              Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
     b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
     d. [Other provisions as needed]


7.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:
             representation of the debtor(s) in adversary proceedings.
                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     September 13, 2023                                                       /s/ Paul Reece Marr GA Bar #
     Date                                                                     Paul Reece Marr GA Bar # 471230
                                                                              Signature of Attorney
                                                                              Paul Reece Marr, P.C.
                                                                              6075 Barfield Road
                                                                              Suite 213
                                                                              Sandy Springs, GA 30328-4402
                                                                              (770) 984-2255 Fax: (678) 623-5109
                                                                              paul.marr@marrlegal.com
                                                                              Name of law firm
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                                                      United States Bankruptcy Court
                                                Northern District of Georgia, Atlanta Division
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                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
Andrew Kirby, Jr.                                                                 100%                                       membership
PO Box 1926
Conyers, GA 30012


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Manager of the corporation named as the debtor in this case, declare under penalty of perjury that I have read
the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



Date September 13, 2023                                                  Signature /s/ Andrew C. Kirby, Jr.
                                                                                        Andrew C. Kirby, Jr.

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                   VERIFICATION OF CREDITOR MATRIX


I, the Manager of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




Date:     September 13, 2023                             /s/ Andrew C. Kirby, Jr.
                                                         Andrew C. Kirby, Jr./Manager
                                                         Signer/Title
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                         A.G. Adjustments, Ltd.
                         for Sherwin Williams Paint
                         740 Walt Whitman Road
                         Melville, NY 11747



                         Andrew Kirby Sr
                         2760 Glad Dale
                         Conyers, GA 30094



                         Andrew Kirby, Jr.
                         P.O. Box 1926
                         Decatur, GA 30035



                         Anitra Kirby
                         570 Brown Church Road
                         Social Circle, GA 30025



                         Armstong Relocation Services
                         6950 Business Court
                         Atlanta, GA 30340



                         Artistic Builders Supply
                         Ace Hardware
                         963 Buford Dr C
                         Lawrenceville, GA 30043



                         Atlanta Specialty Millworks
                         1360 Logan Cir NW
                         Atlanta, GA 30318



                         Build.com #3700
                         c/o DAL, Inc.
                         PO Box 162
                         Clifton Heights, PA 19018



                         C2C Resources, LLC
                         1455 Lincoln Pkwy E Suite 550
                         Atlanta, GA 30346
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                     Caroline Smith
                     1504 Aurora Ave
                     Cleveland, TN 37311



                     Citibank
                     PO Box 790411
                     Saint Louis, MO 63179



                     City Electric Supply
                     Dallas Division
                     400 S Record St Ste 1250
                     Dallas, TX 75202-4839



                     Color Schemes Corporation
                     321 Vineyard Drive
                     Athens, GA 30607



                     Commercial Industrial Finance
                     d/b/a Indoff Capital
                     10024 Office Center Ave. #1500
                     Saint Louis, MO 63128



                     Dakota Cormican
                     1004 C St
                     La Porte, IN 46350



                     Dalfen Industrial LLC
                     Susan Cantrell, Property Mngr
                     5607 Glenridge Dr, Ste 460
                     Atlanta, GA 30342



                     Dept. of Justice-Tax Division
                     Civil Trial §, So. Region
                     POBox14198, BenFranklinStation
                     Washington, DC 20044



                     Edge Business Systems LLC
                     1350 Northmeadow Pkwy
                     Roswell, GA 30076
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                     First Electronic Bank
                     Derek Higginbotham, CEO
                     2150 S 1300 E; Ste 400
                     Salt Lake City, UT 84106



                     Fundbox
                     Prashant Fuloria, CEO
                     6900 Dallas Parkway, STE 700
                     Plano, TX 75024



                     FundBox
                     c/o Sequium Asset Solutions
                     1130 Northchase Pkwy SE Ste 15
                     Marietta, GA 30067-6429



                     Georgia Department of Revenue
                     ARCS - Bankruptcy
                     1800 Century Blvd NE Ste 9100
                     Atlanta, GA 30345-3202



                     Hardware Resources
                     c/o Transworld Systems Inc.
                     500 Virginia Drive, Suite 514
                     Fort Washington, PA 19034



                     Houzz
                     Legal Dept.
                     285 Hamilton Avenue, 4th Floor
                     Palo Alto, CA 94301



                     Interceramic Inc.
                     c/o CST World Wide
                     PO Box 224768
                     Dallas, TX 75222-4768



                     Internal Revenue Service
                     Stop 334D
                     401 W. Peachtree Street
                     Atlanta, GA 30308
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                     Internal Revenue Service (CIO)
                     PO Box 7346
                     Philadelphia, PA 19101-7346



                     KCG Flooring & Design LLC
                     5365 Dividend Drive, Suite F
                     Decatur, GA 30035



                     Kendal Campbell
                     318 Caruthers Ave
                     Hohenwald, TN 38462



                     Leaf Funding, Inc.
                     Legal Dept.
                     2005 Market Street 14th Floor
                     Philadelphia, PA 19103



                     Lester J. Hubble, Esq.
                     for Indoff Capital
                     5353 S. Lindbergh Blvd #210
                     Saint Louis, MO 63126



                     Lime Granite dba Toro Granite
                     3853 Green Industrial Way
                     Atlanta, GA 30341-1911



                     Mikeitz Realty (Snapfinger GA)
                     c/o Dalfen Ind. - S. Cantrell
                     5607 Glenridge Dr. Ste 460
                     Atlanta, GA 30342



                     Panet Peterson
                     206 Bond Drive
                     Ellenwood, GA 30294



                     Republic Bank; Collections
                     formerly Commercial Industrial
                     10024 Office Center Avenue
                     Saint Louis, MO 63128
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                     Richard M. Howe, Esq.
                     for Technology Insurance Co.
                     4385 Kimball Bridge Rd #100
                     Alpharetta, GA 30022



                     Robert Kirby
                     570 Brown Church Road
                     Social Circle, GA 30025



                     Rosen Materials
                     c/o Vericore
                     10115 Kincey Avenue, Suite 100
                     Huntersville, NC 28078-6482



                     Sherwin Williams Paint
                     1561 Highway 138 SE
                     Conyers, GA 30013-1278



                     Social Circle Ace Home Center
                     181 S Cherokee Rd,
                     Social Circle, GA 30025



                     Southern Wholesale Flooring Co
                     955 Cobb Place Blvd NW
                     Kennesaw, GA 30144



                     Spahn & Rose Lumber Company
                     1100 Rockdale Road
                     Dubuque, IA 52003-7875



                     Suzanne Elliott
                     40 Highlands Way
                     Oxford, GA 30054



                     Todd Sprinkle, Esq.
                     for Mikeitz Realty
                     1075 Peachtree Street NE #1500
                     Atlanta, GA 30339
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                     Top Knobs USA
                     c/o Transworld Systems Inc.
                     500 Virginia Drive, Suite 514
                     Fort Washington, PA 19034



                     Tucker Acoustical Products Inc
                     2014 Steel Drive
                     Tucker, GA 30084



                     U.S. Attorney
                     600 Richard Russell Building
                     75 Spring Street, SW
                     Atlanta, GA 30303



                     U.S. Small Business Admin.
                     Office of Disaster Assistance
                     14925 Kingsport Rd.
                     Fort Worth, TX 76155



                     U.S. Small Business Admin.
                     GA District Office
                     233 Peachtree Street NE; #300
                     Atlanta, GA 30303



                     United States Attorney
                     600 Richard B Russell Building
                     75 Ted Turner Drive, S.W.
                     Atlanta, GA 30303-3309



                     United States Attorney General
                     U.S. Department of Justice
                     950 Pennsylvania Avenue, NW
                     Washington, DC 20530-0001



                     Wells Fargo Bank
                     PO Box 51174
                     Los Angeles, CA 90051-5474
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                     Wex Bank
                     c/o Frontline Asset Strategies
                     2700 Snelling Ave N, Ste 450
                     Saint Paul, MN 55113
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                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Kirby Construction Group, LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




September 13, 2023                               /s/ Paul Reece Marr GA Bar #
Date                                             Paul Reece Marr GA Bar # 471230
                                                 Signature of Attorney or Litigant
                                                 Counsel for Kirby Construction Group, LLC
                                                 Paul Reece Marr, P.C.
                                                 6075 Barfield Road
                                                 Suite 213
                                                 Sandy Springs, GA 30328-4402
                                                 (770) 984-2255 Fax:(678) 623-5109
                                                 paul.marr@marrlegal.com
